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 UNITED STATES DISTRICTCOURT
 EASTERN DISTRICT OF NEW YORK
 Santos Hernandez,
 Emanuel De Jesus Lievano and
 Miguel Antonio Vasquez                                        Civil Action No.
                                                  Plaintiffs, 20-cv-04026

                           -against-                           DEFENDANTS’
                                                                ANSWER TO
 Rosso Uptown Ltd.,                                             PLAINTIFF’S
 Michael Tizzano and                                            COMPLAINT
 Massimo Gammella,

                                                Defendants


        Defendants', ROSSO UPTOWN LTD., MICHAEL TIZZANO and MASSIMO

GAMMELLA (“Defendants”), by and through the undersigned attorneys of Hamra Law Group, P.C.,

hereby respectfully submits its Answers and Affirmative Defenses to Plaintiffs’, SANTOS

HERNANDEZ, EMANUEL De JESUS LIEVANO and MIGUEL ANTONIO VASQUEZ,

Complaint as follows:

                                       JURISDICTION AND
                                             VENUE

        1.      Defendants' admit that Plaintiffs purport to bring a claim under the Fair Labor

 Standards Act, of 1938. (“FLSA”), as amended, and various violations of the New York Labor Law

 (“NYLL”), including minimum wage, overtime, spread of hours, wage statement, and wage notice

 violations. However, Defendants’ deny the remaining allegations contained in Paragraph “1” of

 Plaintiffs’ Complaint.

         2.    Defendants deny the allegations contained in Paragraph “2” of Plaintiffs’
Complaint and refer all questions of law to this Honorable Court.


         3.    Defendants deny the allegations contained in Paragraph “3” of Plaintiffs’
Complaint and refer all questions of law to this Honorable Court.

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                                                 PARTIES

                                                  Plaintiffs

          4.     Defendants’ deny knowledge or information sufficient to form a belief as to the

allegations set forth in Paragraph “4” of Plaintiffs’ Complaint.


         5.      Defendants’ deny knowledge or information sufficient to form a belief as to the

allegations set forth in Paragraph “5” of Plaintiffs’ Complaint.

         6.      Defendants’ deny knowledge or information sufficient to form a belief as to the

  allegations set forth in Paragraph “6” of Plaintiffs’ Complaint.

                                            Corporate Defendant

          7.     Defendants admit the allegations contained in Paragraph “7” of Plaintiffs’

Complaint.

         8.      Defendants admit the allegations contained in Paragraph “8” of Plaintiffs’ Complaint.

                                           Individual Defendants

          9.     Defendants admit the allegations contained in Paragraph “9” of Plaintiffs’

Complaint.

         10.     Defendants deny the allegations contained in Paragraph “10” of Plaintiffs’ Complaint.

         11.     Defendants deny the allegations contained in Paragraph “11” of Plaintiffs’ Complaint.

         12.     Defendants deny the allegations contained in Paragraph “12” of Plaintiffs’

Complaint.

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         13.    Defendants admit the allegations contained in Paragraph “13” of Plaintiffs’

Complaint.

          14.   Defendants deny the allegations contained in Paragraph “14” of Plaintiffs’

Complaint.


          15.   Defendants deny the allegations contained in Paragraph “15” of Plaintiffs’

Complaint.

          16.   Defendants deny the allegations contained in Paragraph “16” of Plaintiffs’

Complaint.

                                     FACTUAL ALLEGATIONS

        17.     Defendants deny the allegations contained in Paragraph “17” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          18.   Defendants deny the allegations contained in Paragraph “18” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          19.   Defendants deny the allegations contained in Paragraph “19” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          20.   Defendants deny the allegations contained in Paragraph “20” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          21.   Defendants deny the allegations contained in Paragraph “21” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          22.   Defendants deny the allegations contained in Paragraph “22” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          23.   Defendants deny the allegations contained in Paragraph “23” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.
        24. Defendants deny the allegations contained in Paragraph “24” of Plaintiffs’
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Complaint and refer all questions of law to this Honorable Court.

          25.   Defendants deny the allegations contained in Paragraph “25” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.


          26.   Defendants deny the allegations contained in Paragraph “26” of Plaintiffs’

Complaint.


                                           Santos Hernandez

          27.   Defendants deny the allegations contained in Paragraph “27” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          28.   Defendants deny the allegations contained in Paragraph “28” of Plaintiffs’

Complaint.


          29.   Defendants deny the allegations contained in Paragraph “29” of Plaintiffs’

Complaint.


          30.   Defendants deny the allegations contained in Paragraph “30” of Plaintiffs’

Complaint.


          31.   Defendants deny the allegations contained in Paragraph “31” of Plaintiffs’

Complaint.

          32.   Defendants deny the allegations contained in Paragraph “32” of Plaintiffs’

Complaint.

          33.   Defendants deny the allegations contained in Paragraph “32” of Plaintiffs’


Complaint.

          34.   Defendants deny the allegations contained in Paragraph “34” of Plaintiffs’
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          35.   Defendants deny the allegations contained in Paragraph “35” of Plaintiffs’

  Complaint.

          36.   Defendants deny the allegations contained in Paragraph “36” of Plaintiffs’

Complaint.

          37.   Defendants deny the allegations contained in Paragraph “37” of Plaintiffs’

Complaint.

          38.   Defendants deny the allegations contained in Paragraph “38” of Plaintiffs’

  Complaint.

          39.   Defendants deny the allegations contained in Paragraph “39” of Plaintiffs’

Complaint.

          40.   Defendants deny the allegations contained in Paragraph “40” of Plaintiffs’

Complaint.

          41.   Defendants deny the allegations contained in Paragraph “41” of Plaintiffs’

Complaint.

                                      Emmanuel De Jesus Lievano

          42.   Defendants deny the allegations contained in Paragraph “42” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          43.   Defendants deny the allegations contained in Paragraph “43” of Plaintiffs’

Complaint.
        44.     Defendants deny the allegations contained in Paragraph “44” of Plaintiffs’

Complaint.

          45.   Defendants deny the allegations contained in Paragraph “45” of Plaintiffs’

Complaint.



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         46.   Defendants deny the allegations contained in Paragraph “46” of Plaintiffs’

Complaint.
        47.    Defendants deny the allegations contained in Paragraph “47” of Plaintiffs’

Complaint.
        48.    Defendants deny the allegations contained in Paragraph “48” of Plaintiffs’

Complaint.

         49.   Defendants deny the allegations contained in Paragraph “49” of Plaintiffs’

Complaint.


         50.   Defendants deny the allegations contained in Paragraph “50” of Plaintiffs’

Complaint.


         51.   Defendants deny the allegations contained in Paragraph “51” of Plaintiffs’

Complaint.
        52.    Defendants deny the allegations contained in Paragraph “52” of Plaintiffs’

Complaint.


         53.   Defendants deny the allegations contained in Paragraph “53” of Plaintiffs’

Complaint.

         54.   Defendants deny the allegations contained in Paragraph “54” of Plaintiffs’

Complaint.


         55.   Defendants deny the allegations contained in Paragraph “55” of Plaintiffs’

Complaint.

         56.   Defendants deny the allegations contained in Paragraph “56” of Plaintiffs’

Complaint.




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                                        Miguel Antonio Vasquez

          57.   Defendants deny the allegations contained in Paragraph “57” of Plaintiffs’

Complaint and refer all questions of law to this Honorable Court.

          58.   Defendants deny the allegations contained in Paragraph “58” of Plaintiffs’

Complaint.

          59.   Defendants deny the allegations contained in Paragraph “59” of Plaintiffs’

Complaint.

          60.   Defendants deny the allegations contained in Paragraph “60” of Plaintiffs’

Complaint.

          61.   Defendants deny the allegations contained in Paragraph “61” of Plaintiffs’

Complaint.


          62.   Defendants deny the allegations contained in Paragraph “62” of Plaintiffs’

Complaint Mr. Vasquez worked as a cook.

          63.   Defendants deny the allegations contained in Paragraph “63” of Plaintiffs’

Complaint.

          64.   Defendants deny the allegations contained in Paragraph “64” of Plaintiffs’

Complaint.

          65.   Defendants deny the allegations contained in Paragraph “65” of Plaintiffs’

Complaint.

          66.   Defendants deny the allegations contained in Paragraph “66” of Plaintiffs’

Complaint.

          67.   Defendants deny the allegations contained in Paragraph “67” of Plaintiffs’

  Complaint.

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            68.   Defendants deny the allegations contained in Paragraph “68” of Plaintiffs’

Complaint

            69.   Defendants deny the allegations contained in Paragraph “69” of Plaintiffs’

Complaint.

            70.   Defendants deny the allegations contained in Paragraph “70” of Plaintiffs’

Complaint

                                              FIRST COUNT

  Minimum Wages under Article 19 of the New York Labor Law §§ 650 et seq. NYLL §§ 658 and 663

            71.   Defendants repeat and reallege all paragraphs above as though fully set forth herein.

            72.    Defendants deny the allegations in Paragraph “72” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

            73.    Defendants deny the allegations in Paragraph “73” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

            74.    Defendants deny the allegations in Paragraph “74” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

                                               SECOND COUNT

   Overtime Wages under the Fair Labor Standards Act 29 U.S.C. §§ 201, et seq. (29 U.S.C. §§ 207
                                             & 216)

            75.    Defendants repeat and reallege all paragraphs above as though fully set forth

  herein.

            76.    Defendants deny the allegations in Paragraph “76” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

            77.    Defendants deny the allegations in Paragraph “77” of Plaintiffs’ Complaint and
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refer all questions of law to this Honorable Court.

          78.     Defendants deny the allegations in Paragraph “78” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          79.     Defendants deny the allegations in Paragraph “79” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          80.     Defendants deny the allegations in Paragraph “80” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          81.     Defendants deny the allegations in Paragraph “81” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

                                            THIRD COUNT

  Overtime Wages under Article 19 of the New York Labor Law §§ 650 et seq. (NYLL § 663 and
                   N.Y. Compilation of Codes, Rules, and Regulations §§ 146-1.4)

          82.     Defendants repeat and reallege all paragraphs above as though fully set forth

herein.

          83.     Defendants deny the allegations in Paragraph “83” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          84.     Defendants deny the allegations in Paragraph “84” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          85.     Defendants deny the allegations in Paragraph “85” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          86.     Defendants deny the allegations in Paragraph “86” of Plaintiffs’ Complaint and

  refer all questions of law to this Honorable Court.

          87.     Defendants deny the allegations in Paragraph “87” of Plaintiffs’ Complaint and

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refer all questions of law to this Honorable Court.



                                           FOURTH COUNT

                         Spread of Hours Premium under 12 NYCRR §§ 146-1.6

          88.     Defendants repeat and reallege all paragraphs above as though fully set forth

herein.

          89.     Defendants deny the allegations in Paragraph “89” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          90.     Defendants deny the allegations in Paragraph “90” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          91.     Defendants deny the allegations in Paragraph “91” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          92.     Defendants deny the allegations in Paragraph “92” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

                                             FIFTH COUNT

                         Wage Notice Violations under NYLL § 195(1) and 198

          93.     Defendants repeat and reallege all paragraphs above as though fully set forth

herein.

          94.     Defendants deny the allegations in Paragraph “94” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          95.     Defendants deny the allegations in Paragraph “95” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.



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                                              SIXTH COUNT

                        Wage Statement Violations under NYLL §§ 195(3) and 198

          96.      Defendants repeat and reallege all paragraphs above as though fully set forth

herein.

          97.      Defendants deny the allegations in Paragraph “97” of Plaintiffs’ Complaint and

refer all questions of law to this Honorable Court.

          98.      Defendants deny the allegations in Paragraph “98” of Plaintiffs’ Complaint

and refer all questions of law to this Honorable Court.



                                       AFFIRMATIVE DEFENSES

                        AS AND FOR A FIRST AFFIRMATIVE DEFENSE

          99.     Plaintiffs’ Complaint fails in whole, or in part, to state a claim upon

which relief can be granted.

                        AS AND FOR A SECOND AFFIRMATIVE DEFENSE

          100.    The Plaintiffs’ claims are barred in whole or in part, by the

applicable statutes of limitations.

                        AS AND FOR A THIRD AFFIRMATIVE DEFENSE

          101.    Plaintiffs’ claims are barred in whole or in part, by the doctrines

of waiver and/or estoppel, including, but not limited to, collateral estoppel and res judicata.

                        AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

          102.    Plaintiffs’ claims are barred in whole or in part, by the doctrine of laches.



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                       AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

         103.    Plaintiffs breached their duty of good faith towards Defendants.

                    AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

         104.    Plaintiffs have failed to mitigate his damages, if any.

                 AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

         105.    At all times relevant hereto, Defendants acted in good faith, without malice and in a

non-reckless manner, with reasonable grounds to believe that they acted in accordance with the law and

did not act in a wrongful manner.

                       AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

         106.    Plaintiffs have failed to join all necessary and indispensable parties in this action.

                       AS AND FOR A NINETH AFFIRMATIVE DEFENSE

         107.    Any amount of damages otherwise recoverable by the Plaintiffs shall be diminished

in total, or in proportion, to which such culpable conduct of the Plaintiff bears to the total conduct

causing the damages alleged in the Complaint(s).

                       AS AND FOR A TENTH AFFIRMATIVE DEFENSE

         108.    The alleged damages, if any, sustained by Plaintiffs were caused in whole or in part

by the conduct of Plaintiffs or third-parties, over whom the Defendants had no control.

                       AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

         109.    At all times relevant thereto, Defendants did not act in a negligent, reckless or

fraudulent manner or in violation of any statute or applicable law.




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                        AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

           110.   Plaintiffs are unable to demonstrate the necessary elements of causation and

damages.

                        AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

           111.   Plaintiffs have failed to allege collectible damages.

                  AS AND FOR A FOURTEENTH AFFIRMATIVE DEFENSE

           112.   Defendants reserve the right to raise additional affirmative defenses that may

subsequently become or may appear applicable to some or all of Plaintiff’s claims.

                        AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

           113.   The Summons’ were not served in any manner permissible under the Federal Rules

of Civil Procedure. Accordingly, personal jurisdiction over the defendants is lacking.

                        AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

           114.   The Complaint is barred in whole or in part because Defendants made accurate

payment of all wages, including, but not limited to overtime.

                              AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

           115.   To the extent that Plaintiff was an employee of any of Defendants, he was never

 engaged in commerce or in the production of goods for commerce, or employed in an enterprise

 engaged in commerce or in the production of goods for commerce, as those terms are defined under

 the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.(29 U.S.C. §§ 207, 216). Accordingly, this

 Court lacks subject matter jurisdiction herein.




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                    AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE


          116.    To the extent that Plaintiffs were employees and/or was an employee of any of

 Defendants, he does not fall within those persons that NYLL §§ 650 et seq.( NYLL § 663 and N.Y.

 Compilation of Codes, Rules and Regulations §§ 146-1.4), and the supporting New York State

 Department of Labor Regulations was designed to protect.

                  AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE


          117.    Defendants acted in good faith with respect to Plaintiff and did not

willfully violate the FLSA and/or any state law. Plaintiff, therefore, is not entitled to

liquidated and/or punitive damages.

                      AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

          118.    The Complaint is barred in whole or in part because Plaintiffs have pled no facts

 demonstrating that they are entitled to recover liquidated and/or punitive damages, and Defendants

 have at all times acted with reasonable grounds for believing they were in compliance with the FLSA

 pursuant to the Portal-to-Portal Act, 29 U.S.C. § 260.

                    AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE

          119.    Defendants have acted in good faith conformity with and in reliance on written

 administrative regulations, orders, rulings, approvals, and/or interpretations of the Administrator of

 the Wage and Hour Division of the U.S. Department of Labor, and/or administrative practices or

 enforcement policies of said Administrator. Accordingly, the action is barred under the Portal- to-

 Portal Act, 29 U.S.C. § 260, et seq.




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                  AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE

         120.     Some or all of Plaintiffs’ claims may be subject to the de minimus rule, 29 C.F.R.

 § 785.47, because they involve insignificant amounts of overtime.

                   AS AND FOR A TWENTY-THIRD AFFIRMATIVE DEFENSE

         121.     Plaintiffs’ alleged injuries were not proximately caused by any unlawful policy, custom,

 practice and/or procedure promulgated and/or tolerated by Defendants.

                        AS AND FOR A THIRTY-FOURTH AFFIRMATIVE DEFENSE

          122.     Defendants acted in good faith with respect to Plaintiff and did not

willfully violate the NYLL and/or any state law. Plaintiff, therefore, is not entitled to

liquidated and/or punitive damages


                                            PRAYER FOR RELIEF

         WHEREFORE, Defendants respectfully request that the Court:

                  A. Dismiss the Complaint in its entirety, with prejudice;

                  B. Deny each and every demand and request for relief contained in the Complaint’s

                      PRAYER FOR RELIEF section;

                  C. Award Defendants judgment against Plaintiff, with interest and costs of suit;

                  D. Award Defendants their costs and reasonable attorneys’ fees; and

                  E. Award Defendants such other and further relief as the Court deems just and proper.

 Dated: December 3, 2020                          Respectfully submitted,

                                                  HAMRA LAW GROUP, P.C.




                                          By:
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